UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ONE HANOVER, LLC,
                                                                     Civil Action No.: 22-2723 (JGLC)
                                   Plaintiff,
- against -                                                          FINAL JUDGMENT ON CONSENT

THE WITKOFF GROUP LLC, SYMPHONY CP
(PARK LANE) OWNER LLC, NEW VALLEY LLC
and HIGHGATE HOTELS, INC.,

                                    Defendants.
-----------------------------------------------------------------X

        Plaintiff ONE HANOVER, LLC having filed an Amended Complaint against Defendants

SYMPHONY CP (PARK LANE) OWNER LLC, HIGHGATE HOTELS, INC. and other

defendants; having asserted claims for trademark infringement; and the parties having agreed to

resolve this matter and having entered into a Settlement Agreement for that purpose; and such

Settlement Agreement providing for, inter alia, the entry of a Final Judgment on Consent

without an admission of wrong doing, fault or liability on the part of any party; and for good

cause shown; it is,


        ORDERED and ADJUDGED that (A) SYMPHONY CP (PARK LANE) OWNER LLC

and HIGHGATE HOTELS, INC., together with their officers, agents, servants, employees, and

those persons in active concert with them, are hereby permanently enjoined and restrained from

(1) reproducing, copying, displaying, the word mark HARRY’S or any mark similar to, or

substantially indistinguishable therefrom including HARRY’S NEW YORK BAR on the

services listed in Plaintiff’s Trademark Registrations or any product/service related thereto, and

(2) advertising, promoting, importing, selling, marketing, offering for sale or otherwise

distributing their infringing services or goods in connection with the word mark HARRY’S or
any mark similar to, or substantially indistinguishable therefrom, and (3) holding themselves out

as, or otherwise representing themselves to be, the owners of, or otherwise authorized to use, the

“HARRY’S” Trademark or (4) from in any other way infringing Plaintiff’s “HARRY’S” word

mark or (5) effecting assignments or transfers, forming new entities or associations or utilizing

any other means or devices for the purpose of circumventing or otherwise avoiding the

prohibitions set forth in numbers (1) through (4) hereof; and (B) the parties’ entry into this Final

Judgment on Consent is without an admission of wrong doing, fault or liability on the part of any

party; and

       The Clerk is directed to enter Judgment which will go into effect accordingly on

September 7, 2023.


Dated: New York, New York
       July 8, 2023


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Attorneys for Plaintiff                               Attorneys for Defendants




                                                      SO ORDERED.
                 Dated: July 11, 2023
                        New York, New York            _________________________

                                                      Hon. Jessica G. L. Clarke
                                                      United States District Judge
